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B 2100A (Form 2100A) (12/15)

                         UNITED STATES BANKRUPTCY COURT
                                                     District Of DELAWARE

In re: JOHN S. DONAHUE, IV                                                                      Case No. 18-11829

                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

              New Residential Mortgage LLC
                                                                                                 Ditech Financial LLC




        Name of Transferee                                                                 Name of Transferor

Name and Address where notices to transferee                                     Court Claim # (if known): 8-1
should be sent:                                                                  Amount of Claim: $73,960.74
NewRez LLC DBA Shellpoint Mortgage Servicing                                     Date Claim Filed: 10/08/2018
P.O. Box 10826
Greenville, SC 29603-0675
Phone: (800)365-7107
E-mail: mtgbk@shellpointmtg.com
Last Four Digits of Acct #: 9546                                                 Phone: 888-298-7785
                                                                                 Last Four Digits of Acct. #: 4551

Name and Address where transferee payments
should be sent (if different from above):
NewRez LLC DBA Shellpoint Mortgage Servicing
P.O. Box 10826
Greenville, SC 29603-0675
Phone: (800)365-7107
E-mail: mtgbk@shellpointmtg.com
Last Four Digits of Acct #: 9546

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By: /s/ Ketan Sawarkar
     AIS Portfolio Services, LP as agent                                         Date 04/17/2019
         Transferee/Transferee’s Agent

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
